                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN
                                   GREEN BAY DIVISION


RYAN DeKEYSER, et al., on behalf of
themselves and all others similarly situated,      Civil No. 1:08-cv-488 (WCG)

                Plaintiffs,

-v-

WAUPACA FOUNDRY, INC. f/k/a
THYSSENKRUPP WAUPACA, INC.,

        Defendant.


JASON VANHOOSE, et al.,
on behalf of themselves                            Civil No. 1:18-cv-01193-WCG
and others similarly situated,

                Plaintiffs,

v.

WAUPACA FOUNDRY, INC.,

                Defendant.


MICHAEL SARRELL, et al.,
on behalf of themselves                            Civil No. 1:18-cv-01192-WCG
and others similarly situated,

                Plaintiffs,

v.

WAUPACA FOUNDRY, INC.,

                Defendant.




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HOY GARRETT, JR., et al.,
                                                                 Civil No. 1:18-cv-01186-WCG
       Plaintiffs,

-v-

WAUPACA FOUNDRY, INC.,

       Defendant.


                ORDER OF FINAL APPROVAL OF SETTLEMENT
______________________________________________________________________________

        Upon consideration of Plaintiffs’ Unopposed Motion for Final Approval of the Parties’

Proposed Settlement (Dkt. 734) and Motion for an Award of Service Payments and for an Award of

Attorneys’ Fees, Costs and Expenses to Plaintiffs’ Counsel (Dkt. 737), and their supporting

memoranda, exhibits, and declarations, as well as the arguments made by counsel during the January

24, 2019 final fairness hearing, and it appearing that:

        1.      The settlement is fair and reasonable;

        2.      The Notice of the Proposed Settlement and an opportunity to object was sent as
                directed to all class members with addresses, and that no class members objected to
                the terms of the settlement, including the service payments or the attorneys’ fees and
                costs; and

        3.      Plaintiffs’ Counsel did substantial work identifying, investigating, prosecuting, and
                settling Plaintiffs’ and Class Members’ claims; Plaintiffs’ Counsel are experienced class
                and collective action employment lawyers and have extensive experience prosecuting
                and settling wage-and-hour class actions; and that Plaintiffs’ Counsel have performed
                and demonstrated their commitment to the Class and to representing the Class’s
                interests, and that Plaintiffs’ Counsel has committed substantial resources to
                prosecuting this case.

It is therefore ORDERED that:

        1.      The Parties’ class-wide Settlement Agreement in the above-captioned Actions is fair
                and reasonable and is hereby approved;




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2.     The Plaintiffs’ request for service payments to be paid to the 22 individuals listed on
       Exhibit B to the Parties’ Settlement Agreement, ranging in amounts from $1,500 to
       $5,000 each, is approved;

3.     Plaintiffs’ Counsel’s request for attorneys’ fees, costs and expenses in the amount of
       $3,500,000.00 is reasonable and is approved;

4.     Payment of the claimed settlement shares, attorneys’ fees, costs and service payments
       shall be made as provided in the Settlement Agreement.

5.     The form and content of the Notices of Proposed Settlement previously approved by
       this Court was adequate, proper, and comported with Due Process;

6.     Pursuant to the Settlement Agreement paragraph 18, final judgment is entered with
       respect to the approval of all terms of the Settlement Agreement, with respect to the
       merits and with prejudice to the individual or Class claims released hereunder. There
       is no just reason for delay in the entry of this judgment, and the time to appeal any
       aspect of the final approval of the Settlement Agreement shall commence forthwith;
       and

7.     The District Court retains jurisdiction solely for purposes of post-judgment
       enforcement of the Settlement Agreement.

LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated at Green Bay, Wisconsin this 24th day of January, 2019.

                                              s/ William C. Griesbach
                                              William C. Griesbach, Chief Judge
                                              United States District Court




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